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 AMENDED MINUTE ENTRY
 TERRY A. DOUGHTY
 U.S. DISTRICT COURT JUDGE
 April 12, 2023

                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 ROBERT F KENNEDY JR ET AL                              CASE NO. 3:23-CV-00381

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 JOSEPH R BIDEN JR ET AL                                MAG. JUDGE KAYLA D. MCCLUSKY


        On April 12, 2023, Plaintiffs filed a Motion for Preliminary Injunction [Doc. No. 6]. Due

 to the currently stayed Motion to Consolidate the instant case with Missouri et al. v. Biden et al.,

 Case No. 3:22-cv-1213 and upcoming hearing on the Motion for Preliminary Injunction, the Court

 will set an extended response deadline. However, Plaintiffs are to promptly serve Defendants with

 the Motion for Preliminary Injunction [Doc. No. 6] and file proof of service in the record. Plaintiffs

 shall provide the Court with notice of service, and response deadlines will be set thereafter.

        The April 12, 2023, Minute Entry [Doc. No. 7] is hereby VACATED.

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